Case 1:18-cv-02782-TWP-MPB 49D12-1807-PL-029055
                           Document 1-1 Filed 09/10/18 Page 1 of 30 PageID   #:7/23/2018
                                                                        Filed:   5       5:02 PM
                                                                                                    Myla A. Eldridge
                                   Marion Superior Court, Civil Division 12                                    Clerk
                                                                                              Marion County, Indiana



 STATE OF INDIANA               )            IN THE MARION COUNTY SUPERIOR COURT
                                ) SS:
 COUNTY OF MARION               )            CAUSE NO.:


 LEGEND’S CREEK                                            )
 HOMEOWNERS ASSOCIATION, INC.                              )
                                                           )
        Plaintiff,                                         )
                                                           )
   v.                                                      )         JURY TRIAL DEMANDED
                                                           )
 TRAVELERS CASUALTY INSURANCE                              )
 COMPANY OF AMERICA,                                       )
                                                           )
        Defendant.                                         )


                                             COMPLAINT


        Comes now Plaintiff, Legend’s Creek Homeowners Association, Inc. (“Legends”), by

 counsel, and for its Complaint against Travelers Casualty Insurance Company of America

 (“Travelers”), states the following:



                                   COMMON ALLEGATIONS



        1.      Travelers insured Legends under a commercial property insurance policy.

        2.      The policy has been effective since September 1, 2015, through the present.

        3.      On or about May 1, 2016, Legends suffered a covered loss to its buildings

 approximately located at 9850 Legends Creek Dr., Indianapolis, IN 46220.

        4.      Specifically, Legends suffered damage to the exterior of its buildings from hail

 and high winds.

        5.      Legends reported the loss to Travelers under claim number E7D9194001H.
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        6.      Travelers had an obligation to investigate the loss.

        7.      Travelers investigated the claim and granted replacement of the roofs, gutters, and

 some siding at the property, totaling $956,886.78. See Exhibit 1, Travelers’ Estimate Dated

 2/7/2018 (the “Estimate”).

        8.      The Estimate produced by Travelers paid for the north facing sides of siding on

 the buildings and not the remaining three sides.

        9.      The siding existing on the Legends’ buildings prior to the storm was uniform in

 appearance, quality, and kind.

        10.     Legends’ siding had also been discontinued and no present match is available.

        11.     Travelers requested that replacement siding be placed on the buildings at

 Legends, and Legends had Amos Exteriors, Inc. perform the work.

        12.     Traveler’s estimate did not provide for painting of the siding, only primed boards

 were paid for by Travelers.

        13.     Presently, Legends has one side of siding on each building that does not match the

 appearance, quality, or kind of the remaining building.

        14.     Legends has complied will all terms and conditions of the Policy and conducted

 the work as requested by Travelers.

        15.     Legends put Travelers on notice that the replaced siding did not match and was

 not of the same quality, kind, and appearance and demanded that all of the siding be replaced so

 that it would be uniform in appearance.

        16.     Travelers has yet to issue a final position on this request.

        17.     Travelers also never advised Legends of any time limitations that it intended on

 enforcing to preclude suit.



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                    COUNT I:          BREACH OF CONTRACT – TRAVELERS


         18.     Plaintiff reincorporates all prior allegations as if fully set forth herein.

         19.     Under Travelers’ insurance policy with Legends, Travelers should have replaced

 the other sides of the siding so that Legends would have had matching siding.

         20.     Under Travelers’ insurance policy with Legends, Travelers should have paid to

 replace the north facing sides with a finish that matched in like kind and quality, rather than

 providing only a primed siding.

         21.     Travelers has left Legends with a non-uniform appearance and decreased the

 value of the property as a result.

         22.     Because Travelers did not pay for the replacement of the other three sides of the

 siding and did not pay to properly repair the north facing siding, it breached the policy.



         WHEREFORE Plaintiff requests all damages available under Indiana law for breach of

 contract, including: the replacement cost value of the siding so that the buildings have siding

 with a reasonably uniform appearance, consequential damages, prejudgment interest, and for

 costs of this action.



                             COUNT IV: BAD FAITH – TRAVELERS



         23.     Plaintiff reincorporates all prior allegations as if fully set forth herein.




                                                     3
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         24.     Travelers had a fiduciary relationship with Legends because Legends was a

 Travelers’ policyholder.

         25.     Travelers knew that the siding was discontinued and could not be matched.

         26.     Travelers breached its obligations of good faith and fair dealing by

 misrepresenting the terms of its insurance policy concerning coverage for replacing the other

 sides of the siding.

         27.     Travelers breached its obligations of good faith and fair dealing by

 misrepresenting the terms of its insurance policy concerning coverage for fully repairing the

 north facing siding because it misrepresented that there was only coverage for primed siding,

 rather than fully finished siding.

         28.     Travelers has made an unfounded refusal to pay for the full value of the

 replacement of the Legends’ siding.

         29.     Travelers has made an unfounded delay in making the full payment for the full

 value of the replacement of the siding.

         30.     Travelers has also violated Indiana’s Unfair Claim Settlement Practices Act,

 because it misrepresented the benefits owed to Legends under the policy with respect to

 providing for replacement of the other sides of the siding so that the building has a uniform

 appearance, and misrepresented the coverage for the north facing siding by stating that it would

 only cover primed siding, rather than fully finished siding.

         31.     Upon information and belief, the malicious motivation behind these

 misrepresentations and delays was to short-change the policyholder so that Travelers could pay

 less than what it clearly and obviously owed.




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        32.     Travelers has previously admitted in other cases that it owes coverage for

 replacement of siding so that building has a uniform appearance after the damaged siding is

 repaired. See e.g. Kelsay v. Travco, 49D07-1605-PL-017783.

        WHEREFORE, Plaintiff, Legend’s Creek Homeowners Association, Inc., hereby

 requests all damages available under Indiana law for bad faith, including punitive damages,

 prejudgment interest, and for costs of this action.


                                      JURY TRIAL REQUEST



        Comes now Plaintiff, Legend’s Creek Homeowners Association, Inc., by undersigned

 counsel, and requests a trial by jury in the above-captioned cause of action.



                                            Respectfully submitted,


                                             /s/William D. Beyers
                                            William D. Beyers, #28466-49
                                            BUCHANAN & BRUGGENSCHMIDT, P.C.
                                            80 E. Cedar St.
                                            Zionsville, Indiana 46077
                                            Telephone: (317) 873-8396
                                            Facsimile: (317) 873-2276
                                            bbeyers@bbinlaw.com

                                            David E. Miller #31855-32
                                            SAEED & LITTLE, LLP
                                            1433 N. Meridian St. Ste. 202
                                            8910 Purdue Road, Suite 240
                                            Indianapolis, Indiana 46149
                                            david@sllawfirm.com

                                            Attorneys for Plaintiff




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                                                                                    Filed: 10       5:02 PM
                                                                                                                                Myla A. Eldridge
                                                  Marion Superior Court, Civil Division 12                                                 Clerk
                                                                                                                          Marion County, Indiana




                Insured:    LEGENDS CREEK HOA, INC.                                          Business:   (317) 224-6736
               Property:    9850 LEGENDS CREEK DR
                            INDIANAPOLIS, IN 46229
                 Home:      5702 KIRKPATRICK WAY
                            INDIANAPOLIS, IN 46220


            Claim Rep.:     STEVEN A KNOPP                                                   Business:   (615) 604-6358
               Position:    General Adjuster                                                  E-mail:    SKNOPP@TRAVELERS.COM
             Company:       THE TRAVELERS INDEMNITY COMPANY OF
                            AMERICA
               Business:    PO BOX 681746
                            FRANKLIN, TN 37068-1746


        Claim Number: E7D9194001H                Policy Number: 680       2G474741                Type of Loss: Hail
        Coverage                                                                    Deductible                   Policy Limit
        Commercial Building 1                                                         $1,000.00                $17,161,510.00

         Date Contacted:    9/23/2016 10:40 AM
           Date of Loss:    5/1/2016                            Date Received:      9/22/2016
         Date Inspected:    9/26/2016 1:00 PM                    Date Entered:      9/29/2016 7:22 PM
    Date Est. Completed:    11/16/2016 9:21 AM

              Price List:   ININ8X_SEP16                                  Depreciate Material: Yes             Depreciate O&P: Yes
                            Restoration/Service/Remodel               Depreciate Non-material: Yes             Depreciate Taxes: Yes
               Estimate:    LEGENDSCREEKREVISE-2                         Depreciate Removal: No                  Roof Damage: Total
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    Dear LEGENDS CREEK HOA, INC.:

    We have prepared an estimate of damages which will serve as the basis for our determination of benefits. Therefore, you
    and/or your contractor should review this estimate carefully and let us know immediately if you have any questions prior
    to beginning any work. A letter with an explanation of benefits and coverage will be provided to you separately.

    Thank you for allowing us to be of service, and thank you for choosing THE TRAVELERS INDEMNITY COMPANY
    OF AMERICA for your insurance needs. If you have any questions regarding this estimate or any aspect of your claim,
    please contact STEVEN A KNOPP at (615) 604-6358.




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                                                      LEGENDSCREEKREVISE-2

                                  Bldg #1

      CAT          SEL DESCRIPTION                       CALC          QTY         REM       REP       RCV      DEPR.       ACV BSC
    1 RFG         300 Remove Laminated - comp.              268.51  268.51SQ        43.58      0.00 11,701.67     (0.00) 11,701.67
                        shingle rfg. - w/ felt
     Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
    2 RFG         300S Laminated - comp. shingle          295.66     295.67SQ        0.00 165.75 49,007.30        (0.00) 49,007.30
                       rfg. - w/out felt
    3 RFG       FELT30 Roofing felt - 30 lb.              268.51     268.51SQ        0.00   27.07 7,268.57        (0.00) 7,268.57
    4 RFG          IWS Ice & water shield                   9455 9,455.00SF          0.00    1.28 12,102.40       (0.00) 12,102.40
    5 RFG        ASTR Asphalt starter - peel and            1891 1,891.00LF          0.00    1.71 3,233.61        (0.00) 3,233.61
                       stick
    6 RFG      RIDGC+ R&R Ridge cap - High                   471     471.00LF        1.85    4.99 3,221.64        (0.00) 3,221.64
                       profile - composition
                       shingles
    7 RFG         DRIP R&R Drip edge                        1891 1,891.00LF          0.25    1.65 3,592.90        (0.00) 3,592.90
    8 RFG       FLPIPE Flashing - pipe jack                   14      14.00EA        0.00   30.42     425.88      (0.00)   425.88
    9 RFG       VENTT Roof vent - turtle type -               78      78.00EA        0.00   44.20 3,447.60        (0.00) 3,447.60
                      Metal
    10 RFG       STEP Step flashing                          754     754.00LF        0.00    7.41 5,587.14        (0.00) 5,587.14
    11 RFG       HIGH Remove Additional charge            268.51     268.51SQ        3.92    0.00 1,052.56        (0.00) 1,052.56
                      for high roof (2 stories or
                      greater)
    12 RFG       HIGH Additional charge for high          268.51     268.51SQ        0.00   13.43 3,606.09        (0.00) 3,606.09
                      roof (2 stories or greater)
    13 SFG       GUTA R&R Gutter / downspout -               707     707.00LF        0.38    4.70 3,591.56        (0.00) 3,591.56
                      aluminum - up to 5"
     Gutter
    14 SFG    GUTA> R&R Gutter / downspout -                 676     676.00LF        0.38    7.57 5,374.20        (0.00) 5,374.20
                    aluminum - 6"
     downspouts
    15 HVC     ACFINS Comb and straighten a/c                  1       1.00EA        0.00 164.63      164.63      (0.00)   164.63
                      condenser fins - with trip
                      charge
    16 HVC    ACFINSN Comb and straighten a/c                 23      23.00EA        0.00   70.51 1,621.73        (0.00) 1,621.73
                      condenser fins - w/out trip
                      charge
    17 DOR        OH9 R&R Overhead door &                      6       6.00EA       48.33 587.38 3,814.26         (0.00) 3,814.26
                      hardware - 9' x 7'
    18 DOR         XS R&R Exterior door slab -                 2       2.00EA        7.95 180.75      377.40      (0.00)   377.40
                      metal - insulated - flush or
                      panel
    19 FNH     DBXRS Door lockset & deadbolt -                 2       2.00EA        0.00   23.91      47.82      (0.00)    47.82
                      exterior - Detach & reset

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                                                                CONTINUED - Bldg #1



          CAT            SEL DESCRIPTION                       CALC          QTY          REM       REP       RCV        DEPR.             ACV BSC
       20 PNT      XDOR Prime & paint door slab                       2       2.00EA        0.00   32.82      65.64        (0.00)      65.64
                           only - exterior (per side)
       21 PNT     SANDE Sand wood - exterior                        64      64.00SF         0.00    1.54      98.56        (0.00)      98.56
         wood paneling above utility boxes
       22 PNT          X2 Exterior - paint two coats                64      64.00SF         0.00    0.81      51.84        (0.00)      51.84
         wood paneling above utility boxes
       23 PNT           LAB Painter - per hour                      2*16      32.00HR        0.00 50.00 1,600.00           (0.00) 1,600.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
       24 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
       25 PNT         XSP2 Exterior - seal or prime             720.31     720.31SF         0.00    1.12     806.75        (0.00)     806.75
                              then paint with two finish
                              coats
         seal and paint patched fiber cement siding.

    Totals: Bldg #1                                                                                             121,989.            0.00     121,989.
                                                                                                                      75                           75




                                       Bldg #2

          CAT            SEL DESCRIPTION                       CALC          QTY          REM       REP       RCV        DEPR.             ACV BSC
       26 RFG         300 Remove Laminated - comp.              259.61  259.61SQ        43.58      0.00 11,313.80          (0.00) 11,313.80
                            shingle rfg. - w/ felt
         Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
       27 RFG         300S Laminated - comp. shingle            285.66     285.67SQ         0.00 165.75 47,349.80          (0.00) 47,349.80
                           rfg. - w/out felt
       28 RFG       FELT30 Roofing felt - 30 lb.                259.61     259.61SQ         0.00   27.07 7,027.64          (0.00) 7,027.64
       29 RFG            IWS Ice & water shield                   9455 9,455.00SF           0.00    1.28 12,102.40         (0.00) 12,102.40
       30 RFG        ASTR Asphalt starter - peel and              1891 1,891.00LF           0.00    1.71 3,233.61          (0.00) 3,233.61
                           stick
       31 RFG      RIDGC+ R&R Ridge cap - High                     517     517.00LF         1.85    4.99 3,536.28          (0.00) 3,536.28
                           profile - composition
                           shingles
       32 RFG         DRIP R&R Drip edge                          1891 1,891.00LF           0.25    1.65 3,592.90          (0.00) 3,592.90
       33 RFG         FLPIPE Flashing - pipe jack                   14      14.00EA         0.00   30.42     425.88        (0.00)     425.88

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                                                             CONTINUED - Bldg #2



       CAT          SEL DESCRIPTION                         CALC          QTY          REM       REP       RCV        DEPR.        ACV BSC
    34 RFG       VENTT Roof vent - turtle type -                 78      78.00EA         0.00   44.20 3,447.60         (0.00) 3,447.60
                       Metal
    35 RFG        HIGH Remove Additional charge              259.61     259.61SQ         3.92    0.00 1,017.67         (0.00) 1,017.67
                       for high roof (2 stories or
                       greater)
    36 RFG        HIGH Additional charge for high            259.61     259.61SQ         0.00   13.43 3,486.56         (0.00) 3,486.56
                       roof (2 stories or greater)
    37 RFG        STEP Step flashing                            734     734.00LF         0.00    7.41 5,438.94         (0.00) 5,438.94
    38 SFG        GUTA R&R Gutter / downspout -                 664     664.00LF         0.38    4.70 3,373.12         (0.00) 3,373.12
                       aluminum - up to 5"
      Gutter
    39 SFG     GUTA> R&R Gutter / downspout -                   768     768.00LF         0.38    7.57 6,105.60         (0.00) 6,105.60
                     aluminum - 6"
      downspouts
    40 HVC    ACFINS Comb and straighten a/c                       1       1.00EA        0.00 164.63      164.63       (0.00)    164.63
                        condenser fins - with trip
                        charge
    41 HVC ACFINSN Comb and straighten a/c                       27      27.00EA         0.00   70.51 1,903.77         (0.00) 1,903.77
                        condenser fins - w/out trip
                        charge
    42 DOR        OH9 R&R Overhead door &                          6       6.00EA      48.33 587.38 3,814.26           (0.00) 3,814.26
                        hardware - 9' x 7'
    43 DOR          XS R&R Exterior door slab -                    2       2.00EA        7.95 180.75      377.40       (0.00)    377.40
                        metal - insulated - flush or
                        panel
    44 FNH     DBXRS Door lockset & deadbolt -                     2       2.00EA        0.00   23.91      47.82       (0.00)     47.82
                        exterior - Detach & reset
    45 PNT      XDOR Prime & paint door slab                       2       2.00EA        0.00   32.82      65.64       (0.00)     65.64
                        only - exterior (per side)
    46 PNT     SANDE Sand wood - exterior                        64      64.00SF         0.00    1.54      98.56       (0.00)     98.56
      wood paneling above utility boxes
    47 PNT          X2 Exterior - paint two coats                64      64.00SF         0.00    0.81      51.84       (0.00)     51.84
      wood paneling above utility boxes
    48 PNT           LAB Painter - per hour                      2*16      32.00HR        0.00 50.00 1,600.00           (0.00) 1,600.00
      Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
      resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
    49 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                            crack and joint filler *
      material for patching fiber cement.


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                                                             CONTINUED - Bldg #2



          CAT            SEL DESCRIPTION                     CALC          QTY         REM       REP       RCV      DEPR.               ACV BSC
       50 PNT         XSP2 Exterior - seal or prime           720.31     720.31SF        0.00    1.12     806.75        (0.00)     806.75
                              then paint with two finish
                              coats
         seal and paint patched fiber cement siding.

    Totals: Bldg #2                                                                                          120,510.            0.00     120,510.
                                                                                                                   47                           47




                                       Bldg # 3

          CAT            SEL DESCRIPTION                     CALC          QTY         REM       REP       RCV      DEPR.               ACV BSC
       51 RFG         300 Remove Laminated - comp.              262.91  262.91SQ        43.58      0.00 11,457.62       (0.00) 11,457.62
                            shingle rfg. - w/ felt
         Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
       52 RFG        300S Laminated - comp. shingle           289.33     289.33SQ        0.00 165.75 47,956.45          (0.00) 47,956.45
                          rfg. - w/out felt
       53 RFG      FELT30 Roofing felt - 30 lb.               262.91     262.91SQ        0.00   27.07 7,116.97          (0.00) 7,116.97
       54 RFG            IWS Ice & water shield                 9505 9,505.00SF          0.00    1.28 12,166.40         (0.00) 12,166.40
       55 RFG        ASTR Asphalt starter - peel and            1901 1,901.00LF          0.00    1.71 3,250.71          (0.00) 3,250.71
                           stick
       56 RFG      RIDGC+ R&R Ridge cap - High                   521     521.00LF        1.85    4.99 3,563.64          (0.00) 3,563.64
                           profile - composition
                           shingles
       57 RFG         DRIP R&R Drip edge                        1901 1,901.00LF          0.25    1.65 3,611.90          (0.00) 3,611.90
       58 RFG         FLPIPE Flashing - pipe jack                 14      14.00EA        0.00   30.42     425.88        (0.00)     425.88
       59 RFG       VENTT Roof vent - turtle type -               78      78.00EA        0.00   44.20 3,447.60          (0.00) 3,447.60
                          Metal
       60 RFG        HIGH Remove Additional charge            262.91     262.91SQ        3.92    0.00 1,030.61          (0.00) 1,030.61
                          for high roof (2 stories or
                          greater)
       61 RFG        HIGH Additional charge for high          262.91     262.91SQ        0.00   13.43 3,530.88          (0.00) 3,530.88
                          roof (2 stories or greater)
       62 RFG        STEP Step flashing                          773     773.00LF        0.00    7.41 5,727.93          (0.00) 5,727.93
       63 RFG          FLCH R&R Chimney flashing -                12      12.00EA       13.89 271.24 3,421.56           (0.00) 3,421.56
                            average (32" x 36")
       64 SFG          GUTA R&R Gutter / downspout -             673     673.00LF        0.38    4.70 3,418.84          (0.00) 3,418.84
                            aluminum - up to 5"
         Gutter

                                                                                                                2/7/2018                 Page: 6
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                                                               CONTINUED - Bldg # 3



             CAT          SEL DESCRIPTION                      CALC          QTY          REM       REP       RCV        DEPR.             ACV BSC
       65 SFG        GUTA> R&R Gutter / downspout -                768     768.00LF         0.38    7.57 6,105.60          (0.00) 6,105.60
                           aluminum - 6"
            downspouts
       66 FPL         CCAPM R&R Fireplace - chimney                 12      12.00EA       13.89 373.74 4,651.56            (0.00) 4,651.56
                             chase cover - sheetmetal
       67 FPL           FLCP R&R Flue cap                           12      12.00EA       12.36 121.08 1,601.28            (0.00) 1,601.28
       68 HVC        ACFINS Comb and straighten a/c                   1       1.00EA        0.00 164.63      164.63        (0.00)     164.63
                            condenser fins - with trip
                            charge
       69 HVC       ACFINSN Comb and straighten a/c                 27      27.00EA         0.00   70.51 1,903.77          (0.00) 1,903.77
                            condenser fins - w/out trip
                            charge
       70 DOR           OH9 R&R Overhead door &                       6       6.00EA      48.33 587.38 3,814.26            (0.00) 3,814.26
                            hardware - 9' x 7'
       71 DOR            XS R&R Exterior door slab -                  2       2.00EA        7.95 180.75      377.40        (0.00)     377.40
                            metal - insulated - flush or
                            panel
       72 FNH        DBXRS Door lockset & deadbolt -                  2       2.00EA        0.00   23.91      47.82        (0.00)      47.82
                            exterior - Detach & reset
       73 PNT         XDOR Prime & paint door slab                    2       2.00EA        0.00   32.82      65.64        (0.00)      65.64
                            only - exterior (per side)
       74     LIT         X R&R Exterior light fixture                1       1.00EA        9.29   79.19      88.48        (0.00)      88.48
       75 PNT     SANDE Sand wood - exterior                        64      64.00SF         0.00    1.54      98.56        (0.00)      98.56
         wood paneling above utility boxes
       76 PNT          X2 Exterior - paint two coats                64      64.00SF         0.00    0.81      51.84        (0.00)      51.84
         wood paneling above utility boxes
       77 PNT           LAB Painter - per hour                      2*16      32.00HR        0.00 50.00 1,600.00           (0.00) 1,600.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
       78 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
       79 PNT            XSP2 Exterior - seal or prime          720.31     720.31SF         0.00    1.12     806.75        (0.00)     806.75
                                 then paint with two finish
                                 coats
            seal and paint patched fiber cement siding.

    Totals: Bldg # 3                                                                                            131,632.            0.00     131,632.
                                                                                                                      58                           58



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                                   Bldg # 4

       CAT         SEL DESCRIPTION                        CALC          QTY         REM       REP       RCV      DEPR.       ACV BSC
    80 RFG         300 Remove Laminated - comp.              279.36  279.36SQ        43.58      0.00 12,174.51     (0.00) 12,174.51
                         shingle rfg. - w/ felt
      Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
    81 RFG        300S Laminated - comp. shingle           307.33     307.33SQ        0.00 165.75 50,939.95        (0.00) 50,939.95
                       rfg. - w/out felt
    82 RFG      FELT30 Roofing felt - 30 lb.               279.36     279.36SQ        0.00   27.07 7,562.28        (0.00) 7,562.28
    83 RFG          IWS Ice & water shield                   9975 9,975.00SF          0.00    1.28 12,768.00       (0.00) 12,768.00
    84 RFG       ASTR Asphalt starter - peel and             1995 1,995.00LF          0.00    1.71 3,411.45        (0.00) 3,411.45
                       stick
    85 RFG     RIDGC+ R&R Ridge cap - High                    570     570.00LF        1.85    4.99 3,898.80        (0.00) 3,898.80
                       profile - composition
                       shingles
    86 RFG        DRIP R&R Drip edge                         1995 1,995.00LF          0.25    1.65 3,790.50        (0.00) 3,790.50
    87 RFG      FLPIPE Flashing - pipe jack                    14      14.00EA        0.00   30.42     425.88      (0.00)   425.88
    88 RFG      VENTT Roof vent - turtle type -                78      78.00EA        0.00   44.20 3,447.60        (0.00) 3,447.60
                      Metal
    89 RFG       HIGH Remove Additional charge             279.36     279.36SQ        3.92    0.00 1,095.09        (0.00) 1,095.09
                      for high roof (2 stories or
                      greater)
    90 RFG       HIGH Additional charge for high           279.36     279.36SQ        0.00   13.43 3,751.80        (0.00) 3,751.80
                      roof (2 stories or greater)
    91 RFG       STEP Step flashing                           789     789.00LF        0.00    7.41 5,846.49        (0.00) 5,846.49
    92 RFG       FLCH R&R Chimney flashing -                   12      12.00EA       13.89 271.24 3,421.56         (0.00) 3,421.56
                      average (32" x 36")
    93 SFG       GUTA R&R Gutter / downspout -                653     653.00LF        0.38    4.70 3,317.24        (0.00) 3,317.24
                      aluminum - up to 5"
      Gutter
    94 SFG     GUTA> R&R Gutter / downspout -                 676     676.00LF        0.38    7.57 5,374.20        (0.00) 5,374.20
                     aluminum - 6"
      downspouts
    95 FPL      CCAPM R&R Fireplace - chimney                  12      12.00EA       13.89 373.74 4,651.56         (0.00) 4,651.56
                       chase cover - sheetmetal
    96 FPL        FLCP R&R Flue cap                            12      12.00EA       12.36 121.08 1,601.28         (0.00) 1,601.28
    97 HVC  ACFINS Comb and straighten a/c                      1       1.00EA        0.00 164.63      164.63      (0.00)   164.63
                   condenser fins - with trip
                   charge
    98 HVC ACFINSN Comb and straighten a/c                     23      23.00EA        0.00   70.51 1,621.73        (0.00) 1,621.73
                   condenser fins - w/out trip
                   charge
    99 LIT       X R&R Exterior light fixture                   2       2.00EA        9.29   79.19     176.96      (0.00)   176.96
    100 DOR        OH9 R&R Overhead door &                      6       6.00EA       48.33 587.38 3,814.26         (0.00) 3,814.26
                       hardware - 9' x 7'


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                                                               CONTINUED - Bldg # 4



          CAT           SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      101 DOR          XS R&R Exterior door slab -                    2       2.00EA        7.95 180.75      377.40        (0.00)     377.40
                           metal - insulated - flush or
                           panel
      102 FNH     DBXRS Door lockset & deadbolt -                     2       2.00EA        0.00   23.91      47.82        (0.00)      47.82
                           exterior - Detach & reset
      103 PNT      XDOR Prime & paint door slab                       2       2.00EA        0.00   32.82      65.64        (0.00)      65.64
                           only - exterior (per side)
      104 PNT     SANDE Sand wood - exterior                        64       64.00SF        0.00     1.54     98.56        (0.00)      98.56
         wood paneling above utility boxes
      105 PNT          X2 Exterior - paint two coats                64       64.00SF        0.00     0.81     51.84        (0.00)      51.84
         wood paneling above utility boxes
      106 PNT           LAB Painter - per hour                      2*16      32.00HR        0.00 50.00 1,600.00           (0.00) 1,600.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
      107 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
      108 PNT         XSP2 Exterior - seal or prime             720.31     720.31SF         0.00     1.12    806.75        (0.00)     806.75
                              then paint with two finish
                              coats
         seal and paint patched fiber cement siding.

    Totals: Bldg # 4                                                                                            136,431.            0.00     136,431.
                                                                                                                      78                           78




                                       Bldg # 5

          CAT           SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      109 RFG         240 Remove 3 tab - 25 yr. -               276.26  276.26SQ        42.14      0.00 11,641.60          (0.00) 11,641.60
                            composition shingle
                            roofing - incl. felt
         Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
      110 RFG         240S 3 tab - 25 yr. - comp.                  304     304.00SQ         0.00 152.55 46,375.20          (0.00) 46,375.20
                           shingle roofing - w/out felt
      111 RFG       FELT15 Roofing felt - 15 lb.                276.26     276.26SQ         0.00   22.68 6,265.58          (0.00) 6,265.58
      112 RFG           IWS Ice & water shield                    9775 9,775.00SF           0.00     1.28 12,512.00        (0.00) 12,512.00
      113 RFG          ASTR Asphalt starter - peel and            1955 1,955.00LF           0.00     1.71 3,343.05         (0.00) 3,343.05
                            stick
                                                                                                                   2/7/2018                 Page: 9
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                                                             CONTINUED - Bldg # 5



           CAT           SEL DESCRIPTION                     CALC         QTY         REM      REP       RCV      DEPR.               ACV BSC
       114 RFG     RIDGC+ R&R Ridge cap - High                   537    537.00LF        1.85    4.99 3,673.08         (0.00) 3,673.08
                           profile - composition
                           shingles
       115 RFG        DRIP R&R Drip edge                       1955 1,955.00LF          0.25    1.65 3,714.50         (0.00) 3,714.50
       116 RFG      FLPIPE Flashing - pipe jack                   14     14.00EA        0.00   30.42    425.88        (0.00)     425.88
       117 RFG      VENTT Roof vent - turtle type -               78     78.00EA        0.00   44.20 3,447.60         (0.00) 3,447.60
                          Metal
       118 RFG       HIGH Remove Additional charge            276.26    276.26SQ        3.92    0.00 1,082.94         (0.00) 1,082.94
                          for high roof (2 stories or
                          greater)
       119 RFG       HIGH Additional charge for high          276.26    276.26SQ        0.00   13.43 3,710.17         (0.00) 3,710.17
                          roof (2 stories or greater)
       120 RFG       STEP Step flashing                          754    754.00LF        0.00    7.41 5,587.14         (0.00) 5,587.14
       121 SFG          GUTA R&R Gutter / downspout -            696    696.00LF        0.38    4.70 3,535.68         (0.00) 3,535.68
                             aluminum - up to 5"
          Gutter
       122 SFG     GUTA> R&R Gutter / downspout -                676    676.00LF        0.38    7.57 5,374.20         (0.00) 5,374.20
                         aluminum - 6"
          downspouts
       123 HVC  ACFINS Comb and straighten a/c                     1       1.00EA       0.00 164.63     164.63        (0.00)     164.63
                       condenser fins - with trip
                       charge
       124 HVC ACFINSN Comb and straighten a/c                    23     23.00EA        0.00   70.51 1,621.73         (0.00) 1,621.73
                       condenser fins - w/out trip
                       charge

     Totals: Bldg # 5                                                                                      112,474.            0.00     112,474.
                                                                                                                 98                           98




                                      Garage1

           CAT           SEL DESCRIPTION                     CALC         QTY         REM      REP       RCV      DEPR.               ACV BSC
       125 RFG          300 Remove Laminated - comp.              20.65   20.65SQ        43.58      0.00 899.93       (0.00)     899.93
                             shingle rfg. - w/ felt
       126 RFG         300S Laminated - comp. shingle                23   23.00SQ         0.00 165.75 3,812.25        (0.00) 3,812.25
                             rfg. - w/out felt
          Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
       127 RFG      FELT30 Roofing felt - 30 lb.               20.65     20.65SQ        0.00   27.07    559.00        (0.00)     559.00

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                                                               CONTINUED - Garage1



           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      128 RFG           IWS Ice & water shield                     910     910.00SF         0.00     1.28 1,164.80         (0.00) 1,164.80
      129 RFG         ASTR Asphalt starter - peel and              226     226.00LF         0.00     1.71    386.46        (0.00)     386.46
                            stick
      130 RFG       RIDGC+ R&R Ridge cap - High                     44       44.00LF        1.85     4.99    300.96        (0.00)     300.96
                            profile - composition
                            shingles
      131 RFG          DRIP R&R Drip edge                          182     182.00LF         0.25     1.65    345.80        (0.00)     345.80
      132 RFG        VENTT Roof vent - turtle type -                  8       8.00EA        0.00   44.20     353.60        (0.00)     353.60
                           Metal
      133 SFG         GUTA R&R Gutter / downspout -                 89       89.00LF        0.38     4.70    452.12        (0.00)     452.12
                           aluminum - up to 5"
          Gutter
      134 SFG      GUTA> R&R Gutter / downspout -                   24       24.00LF        0.38     7.57    190.80        (0.00)     190.80
                         aluminum - 6"
          downspouts
      135 PNT           LAB Painter - per hour                       2*8      16.00HR        0.00 50.00        800.00      (0.00)    800.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
      136 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
      137 PNT          XSP2 Exterior - seal or prime            423.61     423.61SF         0.00     1.12    474.44        (0.00)     474.44
                               then paint with two finish
                               coats
          seal and paint patched fiber cement siding.

     Totals: Garage1                                                                                            9,868.16            0.00     9,868.16




                                        Garage2

           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      138 RFG          300 Remove Laminated - comp.               20.65   20.65SQ        43.58      0.00     899.93        (0.00)     899.93
                             shingle rfg. - w/ felt
          Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
      139 RFG         300S Laminated - comp. shingle                23       23.00SQ        0.00 165.75 3,812.25           (0.00) 3,812.25
                           rfg. - w/out felt
      140 RFG       FELT30 Roofing felt - 30 lb.                 20.65       20.65SQ        0.00   27.07     559.00        (0.00)     559.00
      141 RFG           IWS Ice & water shield                     910     910.00SF         0.00     1.28 1,164.80         (0.00) 1,164.80
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                                                               CONTINUED - Garage2



           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      142 RFG         ASTR Asphalt starter - peel and              226     226.00LF         0.00     1.71    386.46        (0.00)     386.46
                            stick
      143 RFG       RIDGC+ R&R Ridge cap - High                     44       44.00LF        1.85     4.99    300.96        (0.00)     300.96
                            profile - composition
                            shingles
      144 RFG          DRIP R&R Drip edge                          182     182.00LF         0.25     1.65    345.80        (0.00)     345.80
      145 RFG        VENTT Roof vent - turtle type -                  8       8.00EA        0.00   44.20     353.60        (0.00)     353.60
                           Metal
      146 SFG         GUTA R&R Gutter / downspout -                 89       89.00LF        0.38     4.70    452.12        (0.00)     452.12
                           aluminum - up to 5"
          Gutter
      147 SFG      GUTA> R&R Gutter / downspout -                   24       24.00LF        0.38     7.57    190.80        (0.00)     190.80
                         aluminum - 6"
          downspouts
      148 PNT           LAB Painter - per hour                       2*8      16.00HR        0.00 50.00        800.00      (0.00)    800.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
      149 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
      150 PNT          XSP2 Exterior - seal or prime            423.61     423.61SF         0.00     1.12    474.44        (0.00)     474.44
                               then paint with two finish
                               coats
          seal and paint patched fiber cement siding.

     Totals: Garage2                                                                                            9,868.16            0.00     9,868.16




                                        Garage3

           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      151 RFG          300 Remove Laminated - comp.               20.65   20.65SQ        43.58      0.00     899.93        (0.00)     899.93
                             shingle rfg. - w/ felt
          Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
      152 RFG         300S Laminated - comp. shingle                23       23.00SQ        0.00 165.75 3,812.25           (0.00) 3,812.25
                           rfg. - w/out felt
      153 RFG       FELT30 Roofing felt - 30 lb.                 20.65       20.65SQ        0.00   27.07     559.00        (0.00)     559.00
      154 RFG           IWS Ice & water shield                     910     910.00SF         0.00     1.28 1,164.80         (0.00) 1,164.80


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                                                               CONTINUED - Garage3



           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      155 RFG         ASTR Asphalt starter - peel and              226     226.00LF         0.00     1.71    386.46        (0.00)     386.46
                            stick
      156 RFG       RIDGC+ R&R Ridge cap - High                     44       44.00LF        1.85     4.99    300.96        (0.00)     300.96
                            profile - composition
                            shingles
      157 RFG          DRIP R&R Drip edge                          182     182.00LF         0.25     1.65    345.80        (0.00)     345.80
      158 RFG        VENTT Roof vent - turtle type -                  8       8.00EA        0.00   44.20     353.60        (0.00)     353.60
                           Metal
      159 SFG         GUTA R&R Gutter / downspout -                 89       89.00LF        0.38     4.70    452.12        (0.00)     452.12
                           aluminum - up to 5"
          Gutter
      160 SFG      GUTA> R&R Gutter / downspout -                   24       24.00LF        0.38     7.57    190.80        (0.00)     190.80
                         aluminum - 6"
          downspouts
      161 PNT           LAB Painter - per hour                       2*8      16.00HR        0.00 50.00        800.00      (0.00)    800.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
      162 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
      163 PNT          XSP2 Exterior - seal or prime            423.61     423.61SF         0.00     1.12    474.44        (0.00)     474.44
                               then paint with two finish
                               coats
          seal and paint patched fiber cement siding.

     Totals: Garage3                                                                                            9,868.16            0.00     9,868.16




                                        Garage4

           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      164 RFG          300 Remove Laminated - comp.               20.65   20.65SQ        43.58      0.00     899.93        (0.00)     899.93
                             shingle rfg. - w/ felt
          Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
      165 RFG         300S Laminated - comp. shingle                23       23.00SQ        0.00 165.75 3,812.25           (0.00) 3,812.25
                           rfg. - w/out felt
      166 RFG       FELT30 Roofing felt - 30 lb.                 20.65       20.65SQ        0.00   27.07     559.00        (0.00)     559.00
      167 RFG           IWS Ice & water shield                     910     910.00SF         0.00     1.28 1,164.80         (0.00) 1,164.80


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                                                               CONTINUED - Garage4



           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      168 RFG         ASTR Asphalt starter - peel and              226     226.00LF         0.00     1.71    386.46        (0.00)     386.46
                            stick
      169 RFG       RIDGC+ R&R Ridge cap - High                     44       44.00LF        1.85     4.99    300.96        (0.00)     300.96
                            profile - composition
                            shingles
      170 RFG          DRIP R&R Drip edge                          182     182.00LF         0.25     1.65    345.80        (0.00)     345.80
      171 RFG        VENTT Roof vent - turtle type -                  8       8.00EA        0.00   44.20     353.60        (0.00)     353.60
                           Metal
      172 SFG         GUTA R&R Gutter / downspout -                 89       89.00LF        0.38     4.70    452.12        (0.00)     452.12
                           aluminum - up to 5"
          Gutter
      173 SFG      GUTA> R&R Gutter / downspout -                   24       24.00LF        0.38     7.57    190.80        (0.00)     190.80
                         aluminum - 6"
          downspouts
      174 PNT           LAB Painter - per hour                       2*8      16.00HR        0.00 50.00        800.00      (0.00)    800.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
      175 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
      176 PNT          XSP2 Exterior - seal or prime            423.61     423.61SF         0.00     1.12    474.44        (0.00)     474.44
                               then paint with two finish
                               coats
          seal and paint patched fiber cement siding.

     Totals: Garage4                                                                                            9,868.16            0.00     9,868.16




                                        Clubhouse

           CAT          SEL DESCRIPTION                        CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      177 RFG          300 Remove Laminated - comp.               26.78   26.78SQ        43.58      0.00 1,167.07          (0.00) 1,167.07
                             shingle rfg. - w/ felt
          Includes: Dump fees, hauling, disposal, and labor to remove composition shingles and felt.
      178 RFG         300S Laminated - comp. shingle                31       31.00SQ        0.00 165.75 5,138.25           (0.00) 5,138.25
                           rfg. - w/out felt
      179 RFG       FELT30 Roofing felt - 30 lb.                 26.78       26.78SQ        0.00   27.07     724.93        (0.00)     724.93
      180 RFG           IWS Ice & water shield                    1130 1,130.00SF           0.00     1.28 1,446.40         (0.00) 1,446.40


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                                                              CONTINUED - Clubhouse



           CAT           SEL DESCRIPTION                       CALC           QTY         REM       REP        RCV       DEPR.             ACV BSC
      181 RFG         ASTR Asphalt starter - peel and              226     226.00LF         0.00     1.71    386.46        (0.00)     386.46
                            stick
      182 RFG       RIDGC+ R&R Ridge cap - High                     48       48.00LF        1.85     4.99    328.32        (0.00)     328.32
                            profile - composition
                            shingles
      183 RFG          DRIP R&R Drip edge                          226     226.00LF         0.25     1.65    429.40        (0.00)     429.40
      184 RFG        FLPIPE Flashing - pipe jack                      1       1.00EA        0.00   30.42      30.42        (0.00)      30.42
      185 HVC VENTCP6 R&R Furnace vent - rain                         1       1.00EA        7.95   67.04      74.99        (0.00)      74.99
                      cap and storm collar, 6"
      186 RFG   VENTT Roof vent - turtle type -                     16       16.00EA        0.00   44.20     707.20        (0.00)     707.20
                      Metal
      187 RFG   STEEP Remove Additional charge                   26.78       26.78SQ      10.37      0.00    277.71        (0.00)     277.71
                      for steep roof - 7/12 to
                      9/12 slope
      188 RFG   STEEP Additional charge for steep                26.78       26.78SQ        0.00   30.39     813.84        (0.00)     813.84
                      roof - 7/12 to 9/12 slope
      189 SFG    GUTA R&R Gutter / downspout -                     165     165.00LF         0.38     4.70    838.20        (0.00)     838.20
                      aluminum - up to 5"
         Gutter
      190 SFG      GUTA> R&R Gutter / downspout -                  112     112.00LF         0.38     7.57    890.40        (0.00)     890.40
                         aluminum - 6"
          downspouts
      191 HVC ACFINS> Comb/straighten a/c cond.                        1       1.00EA        0.00 195.83       195.83      (0.00)    195.83
                               fins - w/trip charge - Large
      192 PNT           LAB Painter - per hour                      2*10      20.00HR        0.00 50.00 1,000.00           (0.00) 1,000.00
         Painter labor to scan north elevation for knicks in fiber cement siding and make repair utilizing either bondo agent, epoxy, or wear
         resistant putty due to the minor nature of the damage to the boards in place. prep to paint.
      193 CNC          EPXC (Material Only) Epoxy                     40      40.00LF        0.00     3.20     128.00      (0.00)    128.00
                               crack and joint filler *
         material for patching fiber cement.
      194 PNT          XSP2 Exterior - seal or prime            522.64     522.64SF         0.00     1.12    585.36        (0.00)     585.36
                               then paint with two finish
                               coats
          seal and paint patched fiber cement siding.

     Totals: Clubhouse                                                                                         15,162.78            0.00    15,162.78




                                        Exterior conditions

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           CAT          SEL DESCRIPTION                            CALC       QTY        REM      REP      RCV     DEPR.               ACV BSC
       195 DMO      DUMP> Dumpster load - Approx.                      2      2.00EA     492.10    0.00   984.20       (0.00)     984.20
                               30 yards, 5-7 tons of
                               debris
          debris haul for repairs to exterior, roofing excluded.

     Totals: Exterior conditions                                                                              984.20            0.00          984.20



                                                                     Interior reported

                                        Living Room

           CAT          SEL DESCRIPTION                            CALC       QTY        REM      REP      RCV     DEPR.               ACV BSC
       196 DRY      TEX+ Texture drywall - heavy                   127.20   127.20SF       0.00    0.65    82.68       (0.00)      82.68
                          hand texture
       197 PNT        SP2 Seal/prime then paint the                355.12   355.12SF       0.00    0.93   330.26       (0.00)     330.26
                          surface area twice (3 coats)
       198 PNT   MASKSF> Floor protection - plastic                127.20   127.20SF       0.00    0.23    29.26       (0.00)      29.26
                          and tape - 10 mil
       199 PNT    MASKL- Mask and cover light                          1      1.00EA       0.00    9.73     9.73       (0.00)          9.73
                          fixture
       200 CON    ROOM> Contents - move out then                       1      1.00EA       0.00   60.98    60.98       (0.00)      60.98
                          reset - Large room
       201 CLN       FCC Clean and deodorize carpet                127.20   127.20SF       0.00    0.36    45.79       (0.00)      45.79

     Totals: Living Room                                                                                      558.70            0.00          558.70




                                        Master Bath

           CAT          SEL DESCRIPTION                            CALC       QTY        REM      REP      RCV     DEPR.               ACV BSC
       202 CON       ROOM Contents - move out then                     1      1.00EA       0.00   40.66    40.66       (0.00)      40.66
                          reset
       203 PNT MASKSF> Floor protection - plastic                     72     72.00SF       0.00    0.23    16.56       (0.00)      16.56
                          and tape - 10 mil
       204 DMO MASKSF Mask or cover per square                       200    200.00SF       0.32    0.00    64.00       (0.00)      64.00
                          foot
          cover vanity
       205 DRY       PATCH Drywall patch / small                       1      1.00EA       0.00   48.70    48.70       (0.00)      48.70
                           repair, ready for paint
       206 INS          MN Insulation - Labor                          1      1.00EA       0.00 155.01    155.01       (0.00)     155.01
                           Minimum
       207 DRY         LAB Drywall Installer / Finisher -              3      3.00HR       0.00   59.93   179.79       (0.00)     179.79
                           per hour

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                                                             CONTINUED - Master Bath



           CAT          SEL DESCRIPTION                       CALC       QTY       REM      REP      RCV     DEPR.               ACV BSC
          labor to scrape texture
      208 DRY          TEX+ Texture drywall - heavy               72     72.00SF     0.00    0.65    46.80       (0.00)      46.80
                            hand texture
      209 PNT           SP2 Seal/prime then paint the          196.83   196.83SF     0.00    0.93   183.05       (0.00)     183.05
                            surface area twice (3 coats)

     Totals: Master Bath                                                                                734.57            0.00          734.57




                                       Laundry Room

           CAT          SEL DESCRIPTION                       CALC       QTY       REM      REP      RCV     DEPR.               ACV BSC
      210 APP       DRYRS Dryer - Remove & reset                   1      1.00EA     0.00   22.07    22.07       (0.00)      22.07
      211 APP      WAST Detach & Reset                             1      1.00EA     0.00    0.00    24.51       (0.00)      24.51
                         Washer/Washing Machine -
                         Top-loading
      212 CON      ROOM Contents - move out then                   1      1.00EA     0.00   40.66    40.66       (0.00)      40.66
                         reset
      213 PNT    MASKSF> Floor protection - plastic               48     48.00SF     0.00    0.23    11.04       (0.00)      11.04
                         and tape - 10 mil
      214 PNT        SP2 Seal/prime then paint the             204.12   204.12SF     0.00    0.93   189.83       (0.00)     189.83
                         surface area twice (3 coats)
      215 PNT     MASKL- Mask and cover light                      1      1.00EA     0.00    9.73     9.73       (0.00)          9.73
                         fixture

     Totals: Laundry Room                                                                               297.84            0.00          297.84




                                       Interior conditions

           CAT          SEL DESCRIPTION                       CALC       QTY       REM      REP      RCV     DEPR.               ACV BSC
      216 DMO              PU Haul debris - per pickup             1      1.00EA   110.84    0.00   110.84       (0.00)     110.84
                                truck load - including
                                dump fees
          debris haul off for interior repairs.
      217 CLN            LAB Cleaning Technician - per             6      6.00HR     0.00   32.59   195.54       (0.00)     195.54
                               hour
          labor for post construction cleanup

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                                                         CONTINUED - Interior conditions



           CAT          SEL DESCRIPTION                       CALC          QTY         REM    REP       RCV     DEPR.               ACV BSC
     Totals: Interior conditions                                                                            306.38            0.00       306.38

     Total: Interior reported                                                                             1,897.49            0.00     1,897.49




                                       Supplements

           CAT          SEL DESCRIPTION                       CALC          QTY         REM    REP       RCV     DEPR.               ACV BSC
     * 218 RFG      BIDITM Roofing Supplement                        1       1.00EA     0.00 65,156. 65,156.33       (0.00) 65,156.33 EN
                           submittal *                                                            33
     * 219 PNT      BIDITM Painting siding supplement*               1       1.00EA     0.00 10,975. 10,975.90       (0.00) 10,975.90 EN
                                                                                                  90

     Totals: Supplements                                                                                 76,132.23            0.00    76,132.23



                                                                 2017-09-07-1439-1-1

                                       Bldg. 1

           CAT          SEL DESCRIPTION                       CALC          QTY         REM    REP       RCV     DEPR.               ACV BSC
       220 PNT         XSP2 Exterior - seal or prime           720.31     720.31SF      0.00   -1.12   -806.75       (0.00)    -806.75
                            then paint with two finish
                            coats
          Additional damaged elevations
       221 SDG       MLAPP R&R Siding - hardboard -           1429.74 1,429.74SF        0.32    4.11 6,333.75        (0.00) 6,333.75
                                lap pattern - 8" -
                                prefinished
       222 PNT           LAB Painter - per hour                     32     32.00HR      0.00 -50.00 -1,600.00        (0.00) -1,600.00
          For difficult access and ladder set ups.
       223 CNC        EPXC Epoxy crack and joint filler               40      40.00LF   0.00   -5.48   -219.20       (0.00)    -219.20
                              (per LF of crack)
       224 SDG         LAB Siding Installer - per hour                38      38.00HR   0.00   66.68 2,533.84        (0.00) 2,533.84
          Additional hours for set up and difficult access 2 hours per set up
       225 INS      HWRAP R&R House wrap                         1384 1,384.00SF        0.04    0.27   429.04        (0.00)     429.04
                           (air/moisture barrier)
       226 FNC        1X4C R&R Trim board - 1" x 4" -             740     740.00LF      0.29    3.19 2,575.20        (0.00) 2,575.20
                           installed (cedar)

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                                                                    CONTINUED - Bldg. 1



            CAT           SEL DESCRIPTION                          CALC           QTY          REM       REP       RCV     DEPR.               ACV BSC
       227 PNT         TRIM Seal & paint trim - two                      812     812.00LF         0.00    0.98   795.76        (0.00)     795.76
                               coats
       228 PNT          LAB Painter - per hour                             2       2.00HR         0.00   50.00   100.00        (0.00)     100.00
          touch up siding after install. ( this is required on pre finished siding after install.
       229 FNC          1X6C R&R Trim board - 1" x 6" -                  72      72.00LF         0.30     5.01   382.32        (0.00)     382.32
                             installed (cedar)

     Totals: Bldg. 1                                                                                               10,523.96            0.00    10,523.96




                                          Bldg.2

            CAT           SEL DESCRIPTION                          CALC           QTY          REM       REP       RCV     DEPR.               ACV BSC
       230 PNT         XSP2 Exterior - seal or prime                720.31      720.31SF         0.00    -1.12   -806.75       (0.00)    -806.75
                            then paint with two finish
                            coats
          Additional damaged elevations
       231 SDG       MLAPP R&R Siding - hardboard -                1554.17 1,554.17SF            0.32     4.11 6,884.97        (0.00) 6,884.97
                                lap pattern - 8" -
                                prefinished
       232 PNT           LAB Painter - per hour                          32      32.00HR         0.00 -50.00 -1,600.00         (0.00) -1,600.00
          For difficult access and ladder set ups.
       233 CNC        EPXC Epoxy crack and joint filler                40      40.00LF           0.00    -5.48   -219.20       (0.00)    -219.20
                             (per LF of crack)
       234 SDG         LAB Siding Installer - per hour                 36      36.00HR           0.00    66.68 2,400.48        (0.00) 2,400.48
          Additional hours for difficult access on tall buildings. 2 hours per set up
       235 PNT          LAB Painter - per hour                             2       2.00HR         0.00   50.00   100.00        (0.00)     100.00
          touch up siding after install. ( this is required on pre finished siding after install.
       236 INS        HWRAP R&R House wrap                          1412.5 1,412.50SF            0.04     0.27   437.88        (0.00)     437.88
                             (air/moisture barrier)
       237 FNC          1X4C R&R Trim board - 1" x 4" -                690      690.00LF         0.29     3.19 2,401.20        (0.00) 2,401.20
                             installed (cedar)
       238 FNC          1X6C R&R Trim board - 1" x 6" -                  72      72.00LF         0.30     5.01   382.32        (0.00)     382.32
                             installed (cedar)
       239 PNT         TRIM Seal & paint trim - two                    762      762.00LF         0.00     0.98   746.76        (0.00)     746.76
                             coats

     Totals: Bldg.2                                                                                                10,727.66            0.00    10,727.66


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                                        Bldg.3

           CAT           SEL DESCRIPTION                        CALC          QTY       REM    REP       RCV     DEPR.               ACV BSC
      240 PNT          XSP2 Exterior - seal or prime                720.31   720.31SF   0.00   -1.12   -806.75       (0.00)    -806.75
                            then paint with two finish
                            coats
          Additional damaged elevations
      241 SDG       FCLP< R&R Fiber cement lap                 1086.17 1,086.17SF       0.32    3.49 4,138.30        (0.00) 4,138.30
                             siding - 8"
          15% waste due to small cuts
      242 PNT           LAB Painter - per hour                         32     32.00HR   0.00 -50.00 -1,600.00        (0.00) -1,600.00
         For difficult access and ladder set ups.
      243 CNC        EPXC Epoxy crack and joint filler                 40     40.00LF   0.00   -5.48   -219.20       (0.00)    -219.20
                            (per LF of crack)
      244 SDG         LAB Siding Installer - per hour                  12     12.00HR   0.00   66.68   800.16        (0.00)     800.16
         Additional hours for difficult access on tall buildings.
      245 INS         HWRAP R&R House wrap                           944.5   944.50SF   0.04    0.27   292.80        (0.00)     292.80
                             (air/moisture barrier)
      246 FNC           1X4C R&R Trim board - 1" x 4" -               378    378.00LF   0.29    3.19 1,315.44        (0.00) 1,315.44
                             installed (cedar)
      247 PNT          TRIM Seal & paint trim - two                   378    378.00LF   0.00    0.98   370.44        (0.00)     370.44
                             coats

     Totals: Bldg.3                                                                                       4,291.19            0.00     4,291.19




                                        Bldg.4

           CAT           SEL DESCRIPTION                        CALC          QTY       REM    REP       RCV     DEPR.               ACV BSC
      248 PNT          XSP2 Exterior - seal or prime                720.31   720.31SF   0.00   -1.12   -806.75       (0.00)    -806.75
                            then paint with two finish
                            coats
          Additional damaged elevations
      249 SDG       FCLP< R&R Fiber cement lap                      961.74   961.74SF   0.32    3.49 3,664.23        (0.00) 3,664.23
                            siding - 8"
          15 % waste added due to short cuts
      250 PNT           LAB Painter - per hour                         32     32.00HR   0.00 -50.00 -1,600.00        (0.00) -1,600.00
         For difficult access and ladder set ups.
      251 CNC        EPXC Epoxy crack and joint filler                 40     40.00LF   0.00   -5.48   -219.20       (0.00)    -219.20
                            (per LF of crack)
      252 SDG         LAB Siding Installer - per hour                  14     14.00HR   0.00   66.68   933.52        (0.00)     933.52
         Additional hours for difficult access on tall buildings.
      253 INS         HWRAP R&R House wrap                          836.29   836.29SF   0.04    0.27   259.25        (0.00)     259.25
                            (air/moisture barrier)

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                                                                   CONTINUED - Bldg.4



           CAT           SEL DESCRIPTION                          CALC           QTY          REM       REP       RCV     DEPR.               ACV BSC
      254 FNC           1X4C R&R Trim board - 1" x 4" -               428      428.00LF         0.29     3.19 1,489.44        (0.00) 1,489.44
                             installed (cedar)
      255 PNT           TRIM Seal & paint trim - two                  428      428.00LF         0.00     0.98   419.44        (0.00)     419.44
                             coats

     Totals: Bldg.4                                                                                                4,139.93            0.00     4,139.93




                                         Garage 1

           CAT           SEL DESCRIPTION                          CALC           QTY          REM       REP       RCV     DEPR.               ACV BSC
      256 PNT          XSP2 Exterior - seal or prime               423.61      423.61SF         0.00    -1.12   -474.44       (0.00)    -474.44
                            then paint with two finish
                            coats
          Additional damaged elevations
      257 SDG       MLAPP R&R Siding - hardboard -                 492.66      492.66SF         0.32     4.11 2,182.48        (0.00) 2,182.48
                               lap pattern - 8" -
                               prefinished
      258 PNT           LAB Painter - per hour                          16      16.00HR         0.00 -50.00     -800.00       (0.00)    -800.00
         For difficult access and ladder set ups.
      259 CNC         EPXC Epoxy crack and joint filler                  40      40.00LF         0.00   -5.48   -219.20       (0.00)    -219.20
                              (per LF of crack)
      260 PNT          LAB Painter - per hour                             2       2.00HR         0.00   50.00   100.00        (0.00)     100.00
         touch up siding after install. ( this is required on pre finished siding after install.
      261 INS         HWRAP R&R House wrap                         492.66      492.66SF         0.04     0.27   152.73        (0.00)     152.73
                             (air/moisture barrier)
      262 FNC           1X6C R&R Trim board - 1" x 6" -                 47      47.00LF         0.30     5.01   249.57        (0.00)     249.57
                             installed (cedar)
      263 FNC           1X4C R&R Trim board - 1" x 4" -             63.32       63.32LF         0.29     3.19   220.35        (0.00)     220.35
                             installed (cedar)
      264 PNT          TRIM Seal & paint trim - two                110.32      110.32LF         0.00     0.98   108.11        (0.00)     108.11
                             coats

     Totals: Garage 1                                                                                              1,519.60            0.00     1,519.60




                                         Garage 2


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           CAT           SEL DESCRIPTION                          CALC           QTY          REM       REP       RCV     DEPR.               ACV BSC
      265 PNT          XSP2 Exterior - seal or prime               423.61      423.61SF         0.00    -1.12   -474.44       (0.00)    -474.44
                            then paint with two finish
                            coats
          Additional damaged elevations
      266 SDG       MLAPP R&R Siding - hardboard -                 492.66      492.66SF         0.32     4.11 2,182.48        (0.00) 2,182.48
                               lap pattern - 8" -
                               prefinished
      267 PNT           LAB Painter - per hour                          16      16.00HR         0.00 -50.00     -800.00       (0.00)    -800.00
         For difficult access and ladder set ups.
      268 CNC         EPXC Epoxy crack and joint filler                  40      40.00LF         0.00   -5.48   -219.20       (0.00)    -219.20
                              (per LF of crack)
      269 PNT          LAB Painter - per hour                             2       2.00HR         0.00   50.00   100.00        (0.00)     100.00
         touch up siding after install. ( this is required on pre finished siding after install.
      270 INS       HWRAP R&R House wrap                           492.66      492.66SF         0.04     0.27   152.73        (0.00)     152.73
                           (air/moisture barrier)
      271 FNC         1X6C R&R Trim board - 1" x 6" -                   47      47.00LF         0.30     5.01   249.57        (0.00)     249.57
                           installed (cedar)
      272 FNC         1X4C R&R Trim board - 1" x 4" -               63.32       63.32LF         0.29     3.19   220.35        (0.00)     220.35
                           installed (cedar)
      273 PNT        TRIM Seal & paint trim - two                  110.32      110.32LF         0.00     0.98   108.11        (0.00)     108.11
                           coats

     Totals: Garage 2                                                                                              1,519.60            0.00     1,519.60




                                         Garage 3

           CAT           SEL DESCRIPTION                          CALC           QTY          REM       REP       RCV     DEPR.               ACV BSC
      274 PNT          XSP2 Exterior - seal or prime               423.61      423.61SF         0.00    -1.12   -474.44       (0.00)    -474.44
                            then paint with two finish
                            coats
          Additional damaged elevations
      275 SDG        FCLP< R&R Fiber cement lap                    492.62      492.62SF         0.32     3.49 1,876.88        (0.00) 1,876.88
                               siding - 8"
      276 PNT           LAB Painter - per hour                          16      16.00HR         0.00 -50.00     -800.00       (0.00)    -800.00
         For difficult access and ladder set ups.
      277 CNC        EPXC Epoxy crack and joint filler                  40      40.00LF         0.00    -5.48   -219.20       (0.00)    -219.20
                           (per LF of crack)
      278 INS       HWRAP R&R House wrap                           492.62      492.62SF         0.04     0.27   152.71        (0.00)     152.71
                           (air/moisture barrier)
      279 FNC         1X6C R&R Trim board - 1" x 6" -                   47      47.00LF         0.30     5.01   249.57        (0.00)     249.57
                           installed (cedar)
      280 FNC         1X4C R&R Trim board - 1" x 4" -               63.32       63.32LF         0.29     3.19   220.35        (0.00)     220.35
                           installed (cedar)


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                                                         CONTINUED - Garage 3



           CAT           SEL DESCRIPTION                 CALC      QTY          REM    REP       RCV     DEPR.               ACV BSC
      281 PNT           TRIM Seal & paint trim - two     110.32   110.32LF      0.00   0.98    108.11        (0.00)     108.11
                             coats

     Totals: Garage 3                                                                             1,113.98            0.00     1,113.98




                                       Garage 4

           CAT           SEL DESCRIPTION                 CALC      QTY          REM    REP       RCV     DEPR.               ACV BSC
      282 PNT          XSP2 Exterior - seal or prime     423.61   423.61SF      0.00   -1.12   -474.44       (0.00)    -474.44
                            then paint with two finish
                            coats
          Additional damaged elevations
      283 SDG        FCLP< R&R Fiber cement lap          492.62   492.62SF      0.32   3.49 1,876.88         (0.00) 1,876.88
                               siding - 8"
      284 PNT           LAB Painter - per hour               16    16.00HR      0.00 -50.00    -800.00       (0.00)    -800.00
         For difficult access and ladder set ups.
      285 CNC       EPXC Epoxy crack and joint filler        40    40.00LF      0.00   -5.48   -219.20       (0.00)    -219.20
                          (per LF of crack)
      286 INS      HWRAP R&R House wrap                  492.62   492.62SF      0.04   0.27    152.71        (0.00)     152.71
                          (air/moisture barrier)
      287 FNC        1X6C R&R Trim board - 1" x 6" -         47    47.00LF      0.30   5.01    249.57        (0.00)     249.57
                          installed (cedar)
      288 FNC        1X4C R&R Trim board - 1" x 4" -      63.32    63.32LF      0.29   3.19    220.35        (0.00)     220.35
                          installed (cedar)
      289 PNT       TRIM Seal & paint trim - two         110.32   110.32LF      0.00   0.98    108.11        (0.00)     108.11
                          coats

     Totals: Garage 4                                                                             1,113.98            0.00     1,113.98




                                       General

           CAT           SEL DESCRIPTION                 CALC      QTY          REM    REP       RCV     DEPR.               ACV BSC
      290 DMO          DUMP Dumpster load - Approx.           1     1.00EA   434.53    0.00    434.53        (0.00)     434.53
                            20 yards, 4 tons of debris

     Totals: General                                                                                434.53            0.00       434.53

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     Total: 2017-09-07-1439-1-1                                                      35,384.43            0.00    35,384.43



       Labor Minimums Applied

           CAT        SEL DESCRIPTION                 CALC   QTY      REM    REP     RCV     DEPR.               ACV BSC
      291 ELE        MN-A Electrical labor minimum*      1   1.00EA   0.00   55.57   55.57       (0.00)      55.57

     Totals: Labor Minimums Applied                                                      55.57            0.00        55.57

     Line Item Totals: LEGENDSCREEKREVISE-2                                           792,128.            0.00     792,128.
                                                                                            90                           90




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                                     Summary for Commercial Building 1
     Line Item Total                                                                    792,128.90
     Material Sales Tax                                                                  17,965.06

     Subtotal                                                                           810,093.96
     Overhead                                                                            73,396.41
     Profit                                                                              73,396.41

     Replacement Cost Value                                                            $956,886.78
     Less Deductible                                                                     (1,000.00)
     Less Prior Payment(s)                                                             (911,879.77)

     Net Claim Remaining                                                                $44,007.01




                                   STEVEN A KNOPP
                                   General Adjuster




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